Case 1:04-cr-10074-.]DT Document 63 Filed 07/18/05 Page 1 of 2 Page|D 75

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IN THE UNITED STATES DISTRICT COURT

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vs. cR No. 1. 04 10074-%3#1£%!
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cL:NT WALLACE

ORDER TO SURRENDER

Defendant, Clint Wallace, #19905-076, having been sentenced
in the above styled matter to the custody of the Bureau of Prisons,
and having been granted leave by the Court to report to the
designated institution at his own expense, is hereby ordered to
surrender himself to the Bureau of Prisons by reporting to:
Memphis FCI SCP, 6696 Navy Road, Millington, TN 38053,
no later than 12:00 Noon on Friday, August 5, 2005.

It is further ordered that upon receipt of a copy of this
order, the defendant shall sign and return the copy, to acknowledge
receipt of said order and that he Will report as directed to the
above named institution.

IT IS ORDERED.

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JAMEs//D. TODD

UNITED STATE D STRICT DGE
DATE:

ACKNOWLEDGMENT TO BE SIGNED BY THE DEFENDANT: I agree to report as
directed in the above order and understand that if I fail to so
report, I may be cited for contempt of court and if convicted, may
be punished by imprisonment or fine or both.

 

 

 

Date Defendant Signature

Thls document entered on the dock t ln com fiance
with Rule 55 and/or 32(b) FHCrP on qNQQ_‘L&C)-_

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DISTRIC COURT - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 1:04-CR-10074 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

M. Dianne Smothers

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U.S. ATTORNEY
109 S. Highland Ave.
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Honorable J ames Todd
US DISTRICT COURT

